       Case 6:17-cv-06708-MAT-JWF Document 36 Filed 08/02/18 Page 1 of 1



UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK



 QUINTIN KEENE

                                  Plaintiff(s),
                                                                 MEDIATION
                                                                CERTIFICATION
                                                                   17   - CV- 6708
                             V.




 CITY OF ROCHESTER, et al.,

                               Defendant(s).




    I hereby certify that:

D The mediation session scheduled for_____ has been adjomned to _____
D Case settled prior to the first mediation session.
!/'!Mediation session was held on        7/31/18

   D Case has settled. (Comment if necessaiy).
   D Case has settled in part. (Comment below). Mediation will continue on____
   D Case has settled in part. (Comment below). Mediation is complete.
   !/'! Case has not settled. Mediation will continue on __________

   D Case has not settled. Mediation is complete. The case will proceed towai·d ti·ial
        pmsuant to the Comi's scheduling order.


Date: 07/31/2018                              Mediator: ISi Pati·ick J. Solomon

Additional Comments:
The paiiies may schedule another session.



     Print              Clear Form
